20-12345-mg           Doc 3076   Filed 04/26/24 Entered 04/26/24 16:59:09        Main Document
                                             Pg 1 of 2



PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Iain A. W. Nasatir, Esq.
Karen B. Dine, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone:     (212) 561-7700
Facsimile:     (212) 561-7777
Email:         jstang@pszjlaw.com
               inasatir@pszjlaw.com
               kdine@pszjlaw.com
               bmichael@pszjlaw.com


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11
THE ROMAN CATHOLIC DIOCESE OF                            Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,
               Debtor.


          NOTICE OF ERRATA RE OBJECTION OF OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS TO DEBTOR’S MOTION TO DISMISS CASE

          TO THE HONORABLE JUDGE MARTIN GLENN AND ALL INTERESTED

PARTIES:

          PLEASE TAKE NOTICE that there is an error in the Objection of the Official

Committee of Unsecured Creditors to Debtor’s Motion to Dismiss Case filed on April 26, 2024

[Docket 3071] (the “Objection”). In the Objection, at page 16 of 28, paragraph 36, Bilello v.

Holy Trinity Diocesan High School, Index No. 900099/2021 is listed as one of the four Trial

Cases. The correct Trial Case is Boyle v. Holy Trinity Diocesan High School, Index No.

900307/2021.




                                                1
4878-7762-5017.1 18491.002
20-12345-mg           Doc 3076   Filed 04/26/24 Entered 04/26/24 16:59:09        Main Document
                                             Pg 2 of 2



Dated:      April 26, 2024              PACHULSKI STANG ZIEHL & JONES LLP


                                       /s/ James I. Stang
                                       James I. Stang, Esq.
                                       Iain Nasatir, Esq.
                                       Karen Dine, Esq.
                                       Brittany M. Michael, Esq.
                                       780 Third Avenue, 34th Floor
                                       New York, NY 10017-2024
                                       Telephone: 212/561-7700
                                       Facsimile: 212/561-7777
                                       jstang@pszjlaw.com
                                       inasatir@pszjlaw.com
                                       kdine@pszjlaw.com
                                       bmichael@pszjlaw.com

                                       Counsel for the Official Committee of Unsecured Creditors

                                       BURNS BAIR LLP

                                       /s/ Timothy W. Burns
                                       Timothy W. Burns, Esq. (admitted pro hac vice)
                                       Jesse J. Bair, Esq. (admitted pro hac vice)
                                       10 E. Doty St., Suite 600
                                       Madison, WI 53703-3392
                                       Telephone: (608) 286-2808
                                       Email: tburns@burnsbair.com
                                       Email: jbair@burnsbair.com

                                       Special Insurance Counsel to the Official Committee of
                                       Unsecured Creditors




                                                 2
4878-7762-5017.1 18491.002
